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                                                                                              Filed 2/18/2015 3:19:2SPM
                                                                                                      Patricia Hendmon
                                                                                                             District Olert
                                                                                                    Taytor Cixiniy, Texas
                                                                                                 Patiieia Henderson
                                               26262-B
                               CAUSE NO.


  ALAIN CAST1IXO AND                                    I N THE DISTRICT COURT
  JESSICA CASTILLO,
       Plaintiffs,



                                                        TAYLOR COUNTY, TEXAS
                                                §
  STATE FARM LLOYDS,                            §     Taylor 104th District Court
       Defendant.                                             JUDICIAL DISTRICT

                              PLAINTIFFS' ORIGINAL PETITION

  TO THE HONORABLE JUDGE OF SAID COURT:

           COME NOW Alain Castillo and Jessica Castillo (hereinafter "Plaintiffs"), and

  complains of State Farm Lloyds (hereinafter "State Farm"). In support of their claims and causes

  of action. Plaintiffs would respectfully show the Court as follows:

                                        DISCOVERY LEVEL

           1.    Plaintiffs intend for discovery to he conducted at Level 2, pursuant to Rule 190 of

  the Texas Rules of Civil Procedure.

                                  JURISDICTION AND VENUE

           2.    This Court has jurisdiction to hear Plaintiffs' claims under Texas common law and

  Texas statutory law: Inarguably, the amount in controversy exceeds the mimmuni jurisdictional

  limits of this Court. Venue is also proper, as all or a substantial part of the events giving rise to

  this suit occurred within the city of Abilene, in Taylor County, Texas.

                                              PARTIES

           3.    Plaintiffs are individuals whose residence is located in Abilene, Taylor County,

  Texas.


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            4:        Defendant State Farm is a Texas insurer, which may be served with process by

  serving this Original Petition and a copy of the citation on its Registered Agent, Rendi Black C/O

  StateFarm, at its registered address, 17301 Preston Road, Dallas, Texas 75252-5727.

                                              BACKgROVNP

            5.        This matter revolves largely around a first party insurance dispute regarding the

  extent of damages and amount of loss suffered to the Plaintiffs' Property, which is located at

  1510 Hickory Street, Abilene, TX 79601, (the "Property"): In addition to seeking economic and

  penalty based damages from State Farm, Plaintiffs also seek compensation from State Farm for

  damages caused by improperly investigating the extensive losses associated with this case,

            6.        Plaintiffs own the Property.

            7.       Prior to the occurrence in question, Plaintiffs purchased a residential insurance

  policy from State Farm to cover the Property at issue in this case for a loss due to storm-related

  events.        Plaintiffs* Property suffered storm-related damage. Through their residential policy,

  84BSP9103, Plaintiffs were objectively insured for the subject loss by Defendant.

            8.       On or around June 12, 2014, the Property suffered incredible damage due to storm

  related conditions.

         9.          In the aftermath, Plaintiffs relied on State Farm to help begin the rebuilding

  process. By and through their residential policy, Plaintiffs were objectively insured for the

  subject losses in this matter.

            10. Pursuant to their obligation as a policyholder, Plaintiffs made complete payment of

  all residential insurance premiums in a timely fashion.          Moreover, their residential policy

  covered Plaintiffs during the time period in question.




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           11.     Despite Plamtiffs' efforts, State Farm continually failed and refused to pay-

   Plaintiffs in accordance with its promises under the Policy.

           12. Moreover, Stale Farm has failed to make any reasonable attempt to settle Plaintiffs*

   claims in a fair manner, although its liability to the Plaintiffs under the policy is without dispute.

           13.    In the months following. Plaintiffs provided information to State Farm, as well as

  provided opportunities for State Farm to inspect the Property. However; State Farm failed to

  conduct a fair investigation into the damage to the Property. Moreover, State Farm failed to

  properly inspect the Property and its related damages, failed to properly request mfonnation,

   failed to properly investigate the claim, failed to timely evaluate the claim, failed to timely

  estimate the claim, and failed to timely and properly report and make recommendations in regard

  to Plaintiffs* claims.

           14.    Despite State Farms improprieties, Plaintiffs continued to provide information

  regarding the losses and the related claim to State Farm.          Further, Plaintiffs made inquiries

  regarding the status of the losses, and payments. Regardless, State Farm failed and refused to

  respond to the inquiries, and failed to properly adjust the claim and the losses. As a result, to this

  date. Plaintiffs have not received proper payment for their claim, even though notification was

  provided.

           15.    State Farm has failed to explain the reasons for failing to offer adequate

  compensation for the damage to the Property.           State Farm has furthermore failed to offer

  Plaintiffs adequate compensation without any explanation why full payment was not being made.

  State Farm did not communicate that any future settlements or payments would be forthcoming

  to pay the entire losses covered under the policy.




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           16;     State Farm has further failed to affirm or deny coverage within a reasonable time.

   Plaintiffs also did not receive timely indication of acceptance or rejection regarding the: full and

   entire claim in writing from State Farm in a timely manner.

           17.     State Farm has, to date, refused to fully compensate Plaintiffs under the terms of

   the policy for which Plaintiffs paid, even though it was State Farm that failed to conduct a

   reasonable investigation. Ultimately, State Farm performed a result-oriented investigation of

   Plaintiffs' claims that resulted in an unfair, biased and inequitable evaluation of Plaintiffs' losses.

           18.    State Farm has failed to meet its obligations under the Texas Insurance Code

   regarding timely acknowledging Plaintiffs' claims, beginning an investigation of Plaintiffs'

   claims, and requesting all infonnation reasonably necessary to investigate Plaintiffs' claims

   within the time period mandated by statute.

           19.    As a result of the above issues. Plaintiffs did not receive the coverage for which

   they had originally contracted with State Farm Unfortunately, Plaintiffs have, therefore, been

   forced to file this suit i n order to recover damages arising from the above conduct, as well as

   overall from the unfair refusal to pay insurance benefits.

          20.     In addition. State Farm has failed to place adequate and proper coverage for

   Plaintiffs causing Plaintiffs to suffer further damages. As indicated below, Plaintiffs seek relief

   under the common law, the Deceptive Trade Practices-Consumer Protection Act and the Texas

   Insurance Code.

                                    CONDITIONS PRECEDENT

          21.    All conditions precedent to recovery by Plaintiffs have been met or have occurred,




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                                               AGENCY

           22.    All acts by State Farm were undertaken and completed by its officers, agents,

   servants, employees, and/or representatives. Such were either done with the full authorization or

   ratification of State Farm and/or were completed in its normal and routine course and scope of

   employment with State Farm.

                                 CLAIMS AGAINST DEFENDANT

           23.    Plaintiffs hereby incorporate by reference all facts and circumstances set forth

   under the foregoing paragraphs.

                                               A
                                           NEGLIGENCE

          24.     State Farm had and owed a legal duty to Plaintiffs to properly adjust the structural

   and property damage and other insurance losses associated with the Property.          State Farm

   breached this duty in a number of ways, including but not limited to the following:

                  a.     State Farm was to exercise due care in adjusting and paying policy
                         proceeds regarding Plaintiffs' Property loss;

                  b.     State Farm had a duty to competendy and completely handle and pay all
                         damages associated with Plaintiffs* Property; and'or

                 c.      State Farm failed to properly complete all adjusting activities associated
                         with Plaintiffs.

          25.    State Farm's acts, omissions, and'or breaches did great damage to Plaintiffs, and

   were a proximate cause of Plaintiffs' damages.

                                                 B.
                                    BREACH OF CONTRACT
          26.    Plaintiffs hereby incorporate by reference all facts and circimistances set forth

   under the foregoing paragraphs.



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           27.     According to the policy that Plaintiffs purchased, State Farm had the absolute

   duty to investigate Plaintiffs damages, and to pay Plaintiffs' policy benefits for the claims"trade

   due to the extensive storm-related damages.

           28.     As a result of the storm-related event, Plamtiffs suffered extreme external and

   internal damages.

           29.     Despite objective evidence of such damages, State Farm has breached its

   contractual obligations under the subject insurance policy by failing to pay Plaintiffs benefits

   relating to the cost to properly repair Plaintiffs' Property, as well as for related losses. As a result

   of this breach, Plaintiffs have suffered actual and consequential damages.

                                                     C.
                          VIOLATIONS OF TEXAS DECEPTIVE TRADE
                            PRACTICES ACT AND TEE IN-STATTJTES

           30.     Plaintiffs hereby incorporate by reference all facts and circumstances set forth

   under the foregoing paragraphs.

           31.     State Farm's collective actions constitute violations of the DTPA, including but

   not limited to. Sections 17.46(b) (12), (14), (20), (24), and Section 17.50(a) (4) of the Texas

   Business & Commerce Code. State Farm collectively engaged in false, rnisleading, or deceptive

   acts or practices that included, but were not limited to:

                  a.      Representing that an agreement confers or involves rights, remedies, or
                          obligations which it does not have or involve, or which are prohibited by
                          law;

                  b.      Misrepresenting the authority of a salesman, representative, or agent to
                          negotiate the final terms of a consumer transaction;

                  c.      Failing to disclose information concerning goods or services which were
                          known at the time of the transaction, and the failure to disclose such
                          information was intended to induce the consumer into a transaction into


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                          which the consumer would not have entered had such mformation been
                          disclosed;

                  d.      Using or employing an act or practice in violation of the Texas Insurance
                          Code;

                  e.      Unreasonably delaying the investigation, adjustment and resolution of
                          Plaintiffs' claim;

                  f.     Failure to properly investigate Plaintiffs' claim; and/or

                  g-     Hiring and relying upon a biased engineer and'or adjuster to obtain a
                         favorable, result-oriented report to assist State Farm in low-balling and/or
                         denying Plaintiffs' damage claim.

          32.     As described in this Original Petition, State Farm represented to Plaintiffs that

   their insurance policy and State Farm's adjusting and investigative services had characteristics or

   benefits that it actually did not have, which gives Plaintiffs the right to recover under Section

   17.46 (b)(5) of theDTPA.

          33.     As described in this Original Petition, State Farm represented to Plaintiffs that its

   insurance policy and State Farm's adjusting and investigative services were of a particular

   standard, quality, or grade when they were of another, which stands in violation of Section 17.46

   (b)(7) of the DTPA.

          34.     By representing that State Farm would pay the entire amount needed by Plaintiffs

   to repair the damages caused by the storm-related event and then not doing so, State Farm has

   violated Sections 17.46 (b)(5), (7) and (12) of the DTPA.

          35.     State Farm has breached an express warranty that the damage caused by the

   storm-related event would be covered under the subject insurance policies. This breach entitles

   Plaintiffs to recover under Sections 17.46 (b) (12) and (20) and 17.50 (a) (2) of the DTPA.




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           36.      State Farm's actions, as described herein, are unconscionable in that it took

    advantage of Plaintiffs' lack of knowledge, ability, and experience to a grossly unfair degree.

    State Farm's unconscionable conduct gives Plaintiffs the right to relief under Section 17.50(a)(3)

   of theDTPA.

           37.      State Farm's conduct acts, omissions, and failures, as described in this Original

   Petition, are unfair practices in the business of insurance in violation of Section 17.50 (a) (4) of

   theDTPA.

           38.     Plaintiffs are consumers, as defined under the DTPA, and relied upon these false,

   ntideading, or deceptive acts or practices made by State Farm to their detriment. As a direct and

   proximate result of State Farm's collective acts and conduct, Plaintiffs have been damaged in an

   amount in excess of the minimum jurisdictional limits of this Court, for which Plaintiffs now

   sue, All of the above-described acts, omissions, and failures of State Farm are a producing cause

   of Plaintiffs' damages that are described in this Original Petition.

          39.      Because State Farm's collective actions and conduct were committed knowingly

   and intentionally, Plaintiffs are entitled to recover, in addition to all damages described herein,

   mental anguish damages and additional penalty damages, in an amount not to exceed three times

   such actual damages, for State Farm having knowingly committed its conduct. Additionally,

   Plaintiffs are ultimately entitled to recover damages in an amount not to exceed three times the

   amount of mental anguish and actual damages due to State Farm having intentionally committed

   such conduct.

          40.      As a result of State Farm's unconscionable, misleading, and deceptive actions and

  conduct, Plaintiffs have been forced to retain the legal services of the undersigned attorneys to

  protect and pursue these claims on their behalf. Accordingly, Plaintiffs also seek to recover their

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   costs and reasonable and necessary attorneys' fees as permitted under Section 17.50(d) of the

   Texas Business & Commerce Code, as well as any other such damages to which Plaintiffs may

   show themselves to be justly entitled at law and in equity.

                                            D-
                           f
                          \ IOLATlONS OF TEXAS INSURANCE CODE

           41.    Plaintiffs hereby incorporate by reference all facts arid circumstances set forth

   within the foregoing paragraphs.

           42.    State Farm's actions constitute violations of the Texas Insurance Code, including

   but riot limited to, Article 21.21 Sections 4(10) (a) (ii), (iv), and (viii) (codified as Section

   541.060), Article 21.21 Section 11(e) (codified as Section 541.061), and Article 21.55 Section

   3(f) (codified as Section 542.058).       Specifically, State Farm engaged in certain unfair or

   deceptive acts or practices that include, but are not limited to the following:

                  a.      Failing to attempt, in good faith, to effectuate a prompt, fair, and equitable
                          settlement of a claim with respect to which the insurer's liability has
                          become reasonably clear;

                  b.      Failing to provide promptly to a policyholder a reasonable explanation of
                          the basis in the policy, in relation to the facts or applicable law, for the
                          insurer 's denial of a claim or for the offer of a compromise settlement of a
                          claim;

                  c.      Refusing to pay a claim without conducting a reasonable investigation
                          with respect to the claim;

                  d.     Forcing Plaintiffs to file suit to recover amounts due under the policy by
                         refusing to pay all benefits due;

                  e.     Misrepresenting an insurance policy by failing to disclose any matter!
                         required by law to be disclosed, including a failure to make suchj
                         disclosure in accordance with another provision of this code; andYor

                 f.      Failing to pay a valid claim after receiving all reasonably requested andj
                         required items from the claimant.


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            43.     Plaintiffs are the insured or beneficiary of a claim which was apparendy valid as a

    result of the unauthorized acts of State Farm, and Plaintiffs relied upon these unfair or deceptive

    acts or practices by State Farm to their detriment. Accordingly, State Farm became the insurer of

    Plaintiffs.

            44.     As a direct and proximate result of State Farm's acts and conduct, Plaintiffs have

    been damaged in an amount in excess of the mininium jurisdictional limits of this Court, for

    which they now sue .

            45.     Since a violation of the Texas Insurance Code is a direct violation of the DTPA,

    and because State Farm's actions and conduct were committed knowingly arid intentionally.

    Plaintiffs are entitled to recover, in addition to all damages described herem, mental anguish

    damages and additional damages in an amount not to exceed three times the amount of actual

    damages, for State Farm having knowingly committed such conduct. Additionally, Plaintiffs are

    entitled to recover damages in an amount not to exceed three times the amount of mental and

    actual damages for State Farm having intentionally committed such conduct.

            46.    As a result of State Farm's unfair and deceptive actions and conduct. Plaintiffs

    have been forced to retain the legal services of the undersigned attorneys to protect and pursue

    these claims on their behalf.      Accordingly, Plaintiffs also seeks to recover their costs and

    reasonable and necessary attorneys* fees as permitted under Section 17.50(d) of the Texas

    Business & Commerce Code or Article 21.21 Section 16(b) (1) (codified as Section 541.152) of

    the Texas Insurance Code and any other such damages to which Plaintiffs may show themselves

    justly entitled by law and in equity.




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                    c.     State Farm did not act in the utmost good faith and did not, exercise the
                           most scxupidoiis honesty toward Plaintiffs;

                    d.     State Farm did not place the interests of Plaintiffs before its own, and State
                           Farm used the advantage of its position to gain a benefit for itself, at
                           Plaintiffs' expense;

                    e.     State Farm placed itself in a position where its self-interest might conflict
                           with its obligations as a fiduciary; and'or

                    f.     State Farm did not fully and fairly disclose aU miportant informatioa to
                           Plaintiffs concerning the sale of the porky.

             52.    State Farm is liable fox Plaintiffs' damages for breach of fiduciary duty, as such

   damages %vere objectively caused by State Farm's conduct.

                                              G.
                                 UNFAIR INSURANCE PRACTICES

             53.    Plaintiffs hereby incorporate by reference all facts and circumstances in the

   foregoing paragraphs.

             54.    Plaintiffs have satisfied all conditions precedent to bringing these causes of

   action.     By its acts, omissions, failures, and conduct, State Farm has engaged in unfair and

   deceptive acts or practices in the business of insurance in violation of Chapter 541 of the Texas

   Insurance Code,

             55.    Such violations include, without limitation, all the conduct described in this

   Original Petition, plus State Farm's failure to properly investigate Plaintiffs' claims. Plaintiffs

   also include State Farm's unreasonable delays in the investigation, adjustment, and resohrtion of

   Plaintiffs' claims and State Farm's failure to pay for the proper repair of Plaintiffs' Property, as to

   which State Farm s liability had become reasonably clear.

             56.   Additional violations include State Farm's hiring of and reliance upon biased

   adjusters and/or engineers to obtain favorable, result-oriented reports to assist it in low-balling

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   and denying Plaintiffs' stonn-related damage and related claims. Plaintiffs further include State

   Farm's failure to bok for coverage and give Plaintiffs the benefit of the doubt, as well as State

   Farm's misrepresentations of coverage under the subject insnrance policy. Specificalfyi State

   Farm is also guilty of the following unfair insurance practices:

                  a.       Engaging in false, misleading, and deceptive acts or practices in the
                           businessof insurance in this case;

                  b.       Engaging in unfair claims settlement practices;

                  c:       Misrepresenting to Plaintiffs pertinent facts or policy provisions relating to
                           the coverage at issue;

                  d.       Not attempting in good faith to effectuate a prompt, fair, and eouitable
                           settlement of Plaintiffs' claims as to which State Farm's liability had
                           become reasonably clear;

                  e.       Failing to affirm or deny coverage of Haintiffs* claims within a reasonable
                           time and failing within a reasonable time to submit a reservation of rights
                           letter to Plaintiffs:

                  f.       Refusing to pay Plaintiffs' claims without conducting a reasonable
                           investigation with respect to the claims; and/or

                  g.       Failing to provide promptly to a policyholder a reasonable explanation of
                           the basis in the insurance policy, i n relation to the facts or applicable law,
                           for the denial of a claim or for the offer of a compromise settlement.

          57.     State Farm has also breached the Texas Insurance Code when it breached its duty

   of good faith and fair dealing. State Farm's conduct as described herein has resulted in Plaintiffs'

   damages that are described in this Original Petition.

                                                     EL


                                       MISREPRESENTATION

          58.     Plaintiffs hereby incorporate by reference all facts and circumstances in the

   foregoing paragraphs.

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            59.      State Farm is liable to Plaintiffs under the theories of intentional

    misrepresentation, or in the alternative, negligent misrepresentation. Essentially, State Farm did

    not inform Plaintiffs of certain exclusions in the policy. Misrepresentations were made with the

    intention thai they should be relied upon and acted upon by Plaintiffs who relied on the

    misrepresentations to their detriment. As a result, Plaintiffs have suffered damages, mduding

    but not limited to loss of the Property, loss of use of the Property, mental anguish and attorney's

    fees. State Farm is liablefor these actual consequential and penalty-based damages.

                                         I.
                  COMMON-LAW FRAUD BY NEGLIGENT MISREPRESENTATION

            60.     Plaintiffs hereby incorporate by reference ail facts and circumstances in the

   foregoing paragraphs.

           61.      Plamtiffs would show that State Farm perpetrated fraud by misrepresentation

   (either intentionally or negligently) by falsely representing a fact of mat eriality to Plaintiffs, who

   relied upon such representations that ultimately resulted in their injuries and damages.

   Alternatively, State Farm iraudidently concealed material facts from Plaintiffs, the result of

   which caused damage to Plaintiffs as a result of the storm-related damages.

           62.      Specifically, and as a proximate cause and result of this fraudulent concealment,

   fraud and negligent misrepresentation, all of which was perpetrated without the knowledge or

   consent of Plaintiffs, Plaintiffs have sustained damages far in excess of the nrniirrram

   jurisdictional limits of this Court.

           63.      By reason of Plaintiffs' reliance on State Farm fraudulent representations,

   negligent misrepresentations and/orfraudulentconcealment of material facts as described in this

   complaint, Plaintiffs have suffered actual damages for which they now sue.


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              &,     Plsmtrflk farther/allege that because State Farm knew that the .iffibr«^^!!4#r^

     made to Plamttffs Xvere^dse at the timeMs? were made, such misrepresentations are &aad«lerrt,

    negligent etiffo^m^iw&m            the part of State••Fann* and constitute conduct for whlchthe law

    allows the imposition of exemplary damages.

             65.     I n mis regard, P&irrtiffi will show mat they have incurred sigatficant li%ation

    mpehseSi including attorneys* fees, in the im-estigMoa andprOsecution of this action,

             6$.     Accordingly, Plaintiffs requests that penalty damages be awarded against State

    Faria in a sum in excess of the rriihimom jorisdictionai lmiits of this Court;

                                       WAIVER Mm-      isfQpm> -.
             67.     Plaintiffs hereby incorporate by reference all facts and drctaristances set forth

    imderthef^^

             48.     State Farm has Waived and is estopped from asserting any defenses, conditions,

    exclusions, or exceptions to coverage not contained in any Reservation of Rights or denial letters

    to Pkktiffsv



             69.     State Farm's acts have been the producing and/or proximate caiise of damage to

    Plaintiffs, arid Plamtiffs seek an amount in excess of the ininimum jurisdictional limits of this

    Court.

             7°-   Mbre s^ei^fcfilly, Plaintiffs seek monetary r#ief of oyet $100,000 but not more

    than $200,000.

                                  APPI-nOl^                     & PENALTIES

             71,   State Farm's conddct was committed knowingly and mtentionalry. Accordmgly,

    State Farm is liable for addftWal damages under the DTPA. section 17.50(b) (1), as well as all

    PLAIISTWS^                                                                              Page 15
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     oj^arve^^                                        Code. Plaintiffs are, thus, clearly entitled to the 18%

     damages allowed by me Texas bstBance Code.




               72,.   M ad^Up^ f l ^ t ^         entitled to all Ireasorm^

    pxumm to the Texas JtrrsHr^ee Code, DTPA, and sections 38^001-^05 ,of the Civil Practice and

    Remedies Code.




              73.     Plaintiffs demand a jury trial and tenders the aj^opriale fee with &2s Original

    Petition:




              74.     Pursuant to the Texas Fades of Civil Procedure. Plaintiffs request that State Farm

    disclose all infpraiation and/or martial as r e q u i r e d R u l e 194.2, paragraphs (a) through (1),
        :
    •m$ tofe:m'yffliiii    50 days pftlu's request,




              75.     Ptirsuaat to me Texas Rtiles of Civil Procedure,Plaintiffpropounds the following;

    Requests for Production.

              1.... Please produce State Farm's complete claim files from: the home, regional, local
            offices, and third party adjusters/adjustmg firms regardmg the claim that is the subject of
            this matter, including copies of the file jkekets, •'field'* files and notes, and drafts of
            documents qostarned in the file fof the premises relating to or arising out of Piamtiffe?
            mtderfpttg darm(s)i:

              2.    Please produce ,the imderwriting files referring or relatihg in any way to the policy
            at issue in this action, mcluding the file folders iii which the xwderwrimig documents: are
            kept and drafts of all documents in the file.

             %     Please produce certified copy of the insurance policy .pertainifij to the claim
            mypivesd in this suit:

                                                                                                 Ofage. t «
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            4. Please produce the electronic diary fclttdihg me ele^o^                     made
          by State Farm's claims personnel, conMctors, and third party adjiisrers/adj^ting firms
          relating to me Plaintiffs' claims.

            5^ Please produce all emails mid other forms of icommimicafion by and between all
          paries in this rriatter r4ating to the underlymg event, claim or the Property; w M i i s the;
          subject of this suit.

            6. Please produce the adjusting reports, estimates and appraisals prepared concerning
          Plamtiffs^uadfirlyihg claim.

           7- Please produce the field notes, measurements andfilfemamtatoeA by%e:adj«Bter(js)
          and engmeefs who physically inspected the subject Property.

            8. Please produce t l ^ ernafe, instant ^ssages and in
          to Plamtiff^ underlyingclatm(isj.

            9. Please produce the videotapes, photographs and reMidiogs of Plaititiffl or
          Plaintiffs'home, regardless of whether State Farm intehd to offer these items into evidence
          at trial.

                                        INTERROGATORIES

           76.     Pursuant to the Texas Rules of Civil Procedure, Plamtiff j^opptm^

    Interrogatories.

            L    Please identify any person State Barm expeet tp cafl

           2.   Please! identify the persons involved in the mvesfigatron and handling of Plaintifls*
         claim for insurance benefits arising froin damage relafiag to the uadetlying event, claim or
         the Proptty,: w'tiieh is the subject of this suit, and include a brief description of the
         involvement of each person identified, their: employer; and the date(s) of such involventent.

           3.    I f State Farm or State Farm's representatives performed any investigative steps in
         addition to what is reflected in the claims file, please generally describe those invesfigatiye
         steps conducted by State Farm or any of State Farm's representaiiyes with respectito the
         facts surrounding the circumstances of the subject loss. Identify me persons involved in
         each step:

          4.    Please identify by date, author, and result the estimates, appraisals, engineering,
         mold and other reports generated as a jfesu^ of Stetftlfar


    ¥LAmmBmMjmcAsm^                                                                           Page 17
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           5,   :   Please state the foUowing ccwexmag motiee of claim and timing ofisayment:

                     a.      The date and manner in which State Farm received notice of
                             the claim;
                     b.      The date and manner in which State Farm acknowledged receipt of
                             the claim;
                     c
                         -   Tae date and manner in which State Farm commenced
                             tavesfipitono^^
                     d.      The date and manner in which State Farto reqiiested^ &<ffir;ffie c l ^ a a t
                             all itemsj ^tetoemis, and forms mat S t ^ . f ^ j ^ ^ p ^ | y 1 ? ^ e v e d at
                                                                                                    i


                             the time, would be required from me claimant; and
                     e.      The date and manner in which State Farm notified the claimant lit
                             wiring of the acceptance or rejection of the claim.


          6,   Please identify by date, amount and reason, the irisurance proceed payments made
         by Defendant, or on Defendant's behalf, to the Plaintiffs,

           7, Has Plaintiffs* claim for insurance benefits been rejected or denied? I f so, state the
         reasons forrejectmg'denyiflg the claim.

           8,       When'Wastto

           9,    Have any documents (inchiding: those maintained eleetromcaliy); relating to the:
         investigation or Imdling of Plamtiffs* claim tot: msurance benefits been destroyed or
         :d^pt)^:0#ffis»i;|!lea$eidbi£% what, when and why the document was destroyed, and
         descriWSjafe^

           10- Does State Farm contend that the insured premises was damaged by storm-related
         events                         |fsp,state-.tfws£^eniit i^*g9a«i'bip«das"; ibr «MM%«eiatioi^.

           11 - Does State Farm contend mat any act or onussiou by the Plaintiffs voided, nullified,
                                                                                                    r
         waived or breached the insurance policy in any way? I f so, state the general factual basis
         for this contention.

           12, Does State Farm contend that the PjairiMffs failed to satisfy any condition precedent
         or covenant of the policy in any way? I f so, state the general factual basis for this
         contention.

           13; How is the performance of the adjusters) involved in handling Plaintiffs' claim
         evaluated? State the followiiig:

                    a;       what performance measures are used; and
                    b.       describe State Farm's bonus or incentive plan for adjiisters.

    PLAINTIFFS M A I N CASTILLO ANI> jnESSICA0AS11IXG^                  PETITION                Page 18
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            77.     Plamtiffs pray that judgment be entered against State Farru Lloyds, and that

    Plaintiffs be awarded all of their actual damages, consequential damages, prejudgment interest,

    additional statutory damages, post judgment interest, reasonable and necessary attorney fees,

    court costs and for all such other relief, general or specific, in law or in equity, whether pled or

    un-pled within this Original Petition.

                                                 EBAYEJi

           WHEREFORE, PREMISES CONSIDERED, Plaintiffs pray they be awarded all such

    relief to which they are due as a result of the acts of State Farm Lloyds, and for all such other

    relief to which Plaintiffs may be justly entitled.

                                                   Respectfully submitted,

                                                   THE VOSS LAW FIRM, 3P.G.


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